                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DMSION

                                     NO. 5:10-CR-388-D



   UNITED STATES OF AMERICA

       V.                                                      ORDER TO SEAL

   ULYSSES SAMUEL HENSEN



       On motion of the defendant, Ulysses Samuel Hensen, and for good cause shown, it is hereby

ORDERED that [DE 118] be sealed until further notice by this Court.

       SO ORDERED.

       This _t_ day of    Move ,-.t.b.u._ 2021.



                                                   United States District Judge




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